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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

ABEL CUELLAR LOPEZ, ET AL

VS                                                  Case No.: 2:24-cv -00046-AM
JUAN MALDONADO, ET AL



                                              ORDER

       BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by CHAD MATTHEWS                                          counsel for

ABEL CUELLAR LOPEZ, ET AL                           and the Court, having reviewed the motion, enters

the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac vice is GRANTED, and

CHAD MATTHEWS                           may appear on behalf of ABEL CUELLAR LOPEZ, ET AL

in the above case.

       IT IS FURTHER ORDERED thAt CHAD MATTHEWS                                             if he/she

has not already done so, shall immediately tender the amount of $ 100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

       SIGNED this the                day o1 JUNE                                20-



                                                    UNITED STATES DISTRICT ruDGE
